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                       Exhibit A
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                       WESTCHESTER MEDICAL CARE, P.C.
                             2932 Wilkinson Avenue
                               Bronx, N.Y. 10461
                               Tel. (718) 904-0908



Patient Name:                                    Mary Tardif
Date of Birth:                                   12/02/1988
Date of Accident:                                03/21/2012
Date of Examination:                             07/14/2021


                           NEUROLOGY CONSULTATION


The patient, Ms. Mary Tardif, was examined by me on July 14, 2021 for a
neurology/rehabilitation consultation. The following is a report of my findings and
recommendations.

HISTORY:

Ms. Mary Tardif is a 32-year-old right handed female who was involved in a police assault
injury on March 21st, 2012. The patient states she was thrown backwards hitting her head. There
was a positive loss of consciousness with nausea and vomiting, double vision headaches, there
were no lacerations on her scalp. The patient has a past medical history of seizures
approximately at the age of 19 years old. The patient states the last episode she had was six
months ago.

I evaluated Ms. Mary Tardif and conducted a complete neurological examination on July 14,
2021 without having reviewed any medical records. I customarily do this to avoid any bias
towards previous diagnoses made by other clinicians. I interviewed the patient at length and
performed a neurological examination. I utilized the results of medically accepted neurological
and mental status examination techniques to formulate my clinical assessment. With respect to
my overall opinions, I relied on my education, experience and training and generally accepted
scientific methodologies.

Today the patient presents to our office with complaints of headaches, dizziness, nausea, decline
in cognitive functioning, and depression. The patient states bright lights and loud noises are
bothersome. The patient states she feels nauseous many times throughout the day. The patient is
currently taking Lamictal 200mg ER BID, Topiramate 75mg BID, Magnesium 400mg QD,
Indomethacin 25 mg TID, Amitriptyline 10mg as needed, Baclofen 10mg as needed, Folic Acid
1mg QD and Occipital nerve injections approximately every 3 weeks. The patient states she has
also tried Gabapentin 100mg, Metoclopramide 10mg QID, Ondansetron 8mg once every 8 hours
and Trimethobenzamide 300mg TID as needed for pain.
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PAST MEDICAL HISTORY:

    x   The patient has a past medical history of Asthma, gall bladder removal and
        Appendectomy.

FAMILY HISTORY:

    x   Non-contributory

ALLERGIES:

    x   Sulfur Drugs

SOCIAL HISTORY:

    x   The patient denies any use of illicit drugs, drinking, and smoking. The patient is currently
        working.

PHYSICAL EXAMINATION:

    x   Ms. Mary Tardif is a well-developed, well-nourished 32 years old female who is in
        distress because of the symptoms noted above. She stands at 5’1’’ and weighs 191
        pounds.

EXTREMITIES:

    x   All areas of peripheral pulses were palpated and within normal limits.

REVIEW OF MEDICAL RECORDS:

    x   Saint Francis Hospital and Medical Center MRI of the brain dated 04/23/2009
    x   Medical records from Dr.Peter Wade, M.D dated 04/20/2009-11/25/2014
    x   Bellevue Hospital Center dated 2/27/09, 1/20/12, 2/27/12, 3/18/12 and 4/16/12
    x   Beth Israel Medical Center dated 3/21/12 and 3/24/12
    x   Mount Sinai Medical Center/ New York, NY MRI of the Brain with and without contrast
        dated 03/24/2012.
    x   Mount Sinai Medical Center/ New York, NY Non-Contrast CT of the Head dated
        03/21/2012.
    x   Mt. Sinai Emergency Department (St. Luke’s) dated 11/7/13 and 11/15/19
    x   Mount Sinai Emergency Department records dated 01/12/2012
    x   Saint Francis Medical Group dated 02/09/2009-04/26/2009
    x   Complete Neurological Care records dated 2/6/18-4/16/18
    x   Medical records from Weil Cornell ER dated 10/14/2019 due to skin rash.
    x   Mount Sinai Hospital RH CT of the head without contrast dated 11/14/2019
    x   UCLA Medical Center Emergency Department dated 11/22/20
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    x   UCLA Health Faculty Practice Group dated 11/23/20
    x   Weil Cornell Neurology records dated 4/16/21 and 8/11/21
    x   NYU Langone Health System Records dated 12/31/2020-08/17/2021
    x   NYU Langone Health MRI of the brain dated 01/13/2021.
    x   Community Healthcare records dated 4/22/12-3/30/15
    x   Safe Horizons records dated 2/2/12-2/21/13
    x   Review of the Deposition and Trial testimony of Ms. Tardif.
    x   Review of radiology report of Gregory Lawler, M.D.

DIAGNOSTIC TESTING:

    x    MRI BRAIN WITHOUT CONTRAST WITH DTI DATED 07/14/2021 REVEALED:
          o As compared with prior February 9, 2018 MRI brain, chronic right corona radiata
              T2 white matter hyperintensity with corresponding decreased FA values on DTI
              maps suggesting this likely represents a focus of axonal injury/axonal loss after
              trauma.
          o As compared with 4/23/09 MRI Brain St. Francis Hospital, Hartford, CT; 3/22/12
              CT Head Beth Israel, Mt. Sinai, NYC, NY; 3/24/12 MR Brain. Beth Israel, Mt.
              Sinai, NYC, NY; 2/9/18 MR Brain, Lenox Hill Radiology, NYC, NY; 11/14/19
              CT Head Beth Israel, Mt. Sinai, NYC, NY; 1/13/21 MR Brain, NYU, NYC, NY,
              this focus of T2 white matter hyperintensity was not evident 4/23/09 MRI of the
              brain before head trauma. The focus of T2 hyperintensity is evident on the post
              traumatic 3/24/12 MRI of the brain. The T2 hyperintensity is chronic and
              persistent on multiple post traumatic MRI studies of the brain including the
              current MRI of the brain with DTI. In addition, there is a corresponding focus of
              decreased FA value on DTI maps indicating this likely represents a focus of
              traumatic axonal injury / axonal loss.

GENERAL, PHYSICAL, AND NEUROLOGICAL EXAMINATION:

Mental Status:                         The patient has difficulty counting in series of 7’s. Recall
                                       was at 2/5 at five minutes. The patient is unable to
                                       concentrate and focus.

Cranial Nerve Examination:             CNII the pupils are equal round, regular, and reactive to
                                       light and accommodated directly and consensually. Visual
                                       fields are full on direct and double simultaneous
                                       stimulation Visual acuity is within normal limits.
                                       Extraocular muscles are intact. Orbicularis oculi are
                                       normal. CNVII-Muscular expression and movement of the
                                       face is within normal limits. Jaw opening is symmetrical.
                                       Facial sensation to light touch and pinprick is normal
                                       bilaterally at VI (forehead) V2 (Cheek) and V3 (lower lip)
                                       Fundi are unremarkable. CNVIII- Hearing is within normal
                                       limits. CNIX & X-Ability to swallow and movement of the
                                       palate is intact.
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                                        The corneal reflex, gag reflex, and the remainder of the
                                        brainstem reflexes are normal and symmetrical bilaterally.
                                        Smell and taste were not tested.

Motor System Examination:               Normal power bulk and tone in all muscles.

Reflexes:

                          RIGHT         LEFT
 Biceps (2+)                2+           2+
 Triceps (2+)               2+           2+
 Brachioradialis (2+)       2+           2+
 Knees (2+)                 2+           2+
 Ankles (2+)                2+           2+


Sensory Examination:

                                   RIGHT          LEFT                  LEVEL
 Light touch and pinprick          Normal      Normal
 Vibratory sense                   Normal      Normal
 Two point discrimination          Normal      Normal
 Joint position sense              Normal      Normal


MRI and DTI:

A mind injury is ordered neurotically as one of two kinds - central or diffuse. Central injury
infers restricted injury, ordinarily a wound on the outside of the mind, and is more frequently
noticeable on ordinary examining, for example, happens with stroke, aneurysm or hard impacts
causing discharge. Diffuse injury infers dissipated harm to the mind substance and especially the
white matter, which is included axon strands. Diffuse axonal injury results from speed increase
or deceleration of the head (skull) which causes disfigurements (stretch and strain) of the
cerebrum substance prompting shear injury of the white matter filaments. A non-entering (shut)
head injury is the most well-known sort of awful mind injury and incorporates fluctuating
measure of both central and diffuse axonal injury.

DIAGNOSIS/ IMPRESSION:

The patient’s clinical findings are consistent with traumatic brain injury, as explained in the MRI
in which chronic focus of increased T2 signal intensity in the right corona radiate white matter at
the gray-white matter junction representing a focus of axonal injury / axonal loss after head
trauma. This T2 white matter hyperintensity was not evident on the pre-traumatic 4/23/09 MRI
of the brain. The focus of T2 hyperintensity is evident on the post traumatic 3/24/12 MRI of the
brain. The patient is currently taking Lamictal 200mg ER BID, Topiramate 75mg BID,
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Magnesium 400mg QD, Indomethacin 25 mg TID, Amitriptyline 10mg as needed, Baclofen
10mg as needed, Folic Acid 1mg QD and Occipital nerve injections approximately every 3
weeks.



RECOMMENDATIONS:

1. The patient should follow-up with a neuro-ophthalmologist regarding visual deficit,
   approximately once a year through life at $250 a visit.
2. The patient should receive cognitive therapy as needed at a cost of approximately $4000 to
   $5000 per year once a week for the next 3 to 6 months and re-evaluate the patient for further
   recommendations.
3. The patient should receive periodic MRI of the brain with DTI once a year through life to
   assess progressive white matter changes that may constitute neuro-degenerative disease. The
   cost of this is about $1000 a year.
4. The patient should continue to follow-up with me for neurological consultation 6 times per
   through life, totaling approximately $1500 a year.
5. The patient should continue to follow-up with a psychologist consultation 6 times per year
   through life, totaling approximately $1500 a year.
6. The patient should continue to follow-up with a neuro-otologist three times per year through
   life, totaling approximately $250 to $350 per visit.
7. The patient should continue to follow-up with a neurologist specializing in headaches
   5 to 6 times per year through life, totaling approximately $1200 to $1500.
8. The patient should continue to receive occipital nerve injections once every three weeks
   per year through life, totaling approximately $650 per visit.
9. The patient should continue to take medications for her headaches and nausea through life, as
   needed.

The patient was advised to follow-up at my office once the above therapeutic intervention has
been authorized at which time, I can pursue a more accurate treatment plan.

PROGNOSIS:

The prognosis is guarded. The injuries described herein are serious and permanent in nature and
resultant in a permanent partial residual disabilities, pain, and limitations with significant
restriction of motion. The patient is expected to have permanent intermittent recurring episodes of
pain and discomfort in the future that will significantly restrict patient’s working and social
activities. The patient will require a home health aide in the future.
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                                 RADIOLOGY REPORT – 9/6/21

EXAM: MRI BRAIN WITH DTI

HISTORY: 32 year old female. Posttraumatic headaches. Trauma 3/21/12.

TECHNIQUE: Multiplanar / Multisequence high field 3T MRI of the MR imaging of the brain was
performed including DWI imaging. DTI was performed. Fractional anisotropy (FA) maps and 3-
D tractography maps were reformatted from the original data set on an independent 3-D
workstation utilizing specialized software.

COMPARISON: 4/23/09 MRI Brain St. Francis Hospital, Hartford, CT; 3/22/12 CT Head Beth
Israel, Mt. Sinai, NYC, NY; 3/24/12 MR Brain. Beth Israel, Mt. Sinai, NYC, NY; 2/9/18 MR Brain,
Lenox Hill Radiology, NYC, NY; 11/14/19 CT Head Beth Israel, Mt. Sinai, NYC, NY; 1/13/21MR
Brain, NYU, NYC, NY.

FINDINGS:
On the current exam, there is a focal T2 white matter hyperintensity in the right corona radiata
white matter at the gray-white matter junction.

There is corresponding decreased FA value on DTI maps.

This focus of T2 white matter hyperintensity was not evident 4/23/09 MRI of the brain before
head trauma. The focus of T2 hyperintensity is evident on the post traumatic 3/24/12 MRI of
the brain. The T2 hyperintensity is chronic and persistent on multiple post traumatic MRI
studies of the brain including the current MRI of the brain with DTI. In addition, there is a
corresponding focus of decreased FA value on DTI maps indicating this likely represents a focus
of traumatic axonal injury / axonal loss.

IMPRESSION:
   1. Chronic focus of increased T2 signal intensity in the right corona radiate white matter at
      the gray-white matter junction, likely representing a focus of axonal injury / axonal loss
      after head trauma. Of note, this T2 white matter hyperintensity was not evident on the
      pre-traumatic 4/23/09 MRI of the brain.

   2. Abnormal DTI maps

 Recommend clinical correlation and correlation with additional testing for TBI.



Gregory J. Lawler, M.D.
Board Certified in Diagnostic Radiology
Board Certified in Neuroradiology
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                                      DM Consulting Group
                                        8 Birchwood Drive
                                       Stockholm, NJ 07460
Phone 973-737-4319                                   Email: Linda@AdmConsultingGroup.com
Fax 973-721-1786
                                                                                   September 6, 2021

Mr. Reza Rezvani, Esq.
Faruqi and Faruqi, LLP
685 Third Avenue, 26th Floor
New York, NY 10017

RE: Mary Tardif
Date of Birth: 12/2/1988
Date of Accident: 3/21/2012
Present Age: 32.8
Diagnosis:
           භ Traumatic Brain injury
           භ Occipital Neuralgia – right side
           භ Dizziness

Significant medical history: Epilepsy – last seizure was in April of 2021

                                 Life Care Plan for Mary Tardif

       This file was referred for preparation of a life care plan on behalf of Mary Tardif. The
purpose of this evaluation is to assess the extent to which she has incurred disabling conditions
secondary to the injuries sustained in the event of 3/21/2012.

          A Life Care Plan is a detailed report that identifies the needs and services, both medical
 and non-medical, of an individual who is catastrophically injured, or chronically ill, over their
 lifetime. As a registered nurse, certified case manager, certified disability management
 specialist, certified life care planner, and senior disability analyst and fellow, I assess the impact
 these disabling conditions infringe on an individual’s ability to demonstrate independent
 activities of daily living, and the extent to which they direct the need for medical and
 rehabilitation intervention. In addition, I offer opinions on the level of assistance, services, aids,
 and equipment required to facilitate maximum functional independence and quality of life.

        The conclusions, medical cost projections, information, and recommendations presented
in this Life Care Plan are based upon:


   1. A comprehensive review of the available medical records and other pertinent documents.

   2. A Zoom intake evaluation on August 19, 2021, with Ms. Tardif. The interview lasted 1.5
      hours.

   3. Correspondence with Ms. Tardif’s treating physicians.


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  4. Research of clinical practice guidelines of the listed diagnoses for foundation and support
     of the recommendations.

  5. Sound medical, rehabilitation, nursing, case management, and psychological principles for
     foundation and support of the recommendations

  6. Research of providers of durable medical goods/supplies and other products and services.



                                 RECORDS REVIEWED

     Ɣ   Records of Westchester Medical Care, P.C
     Ɣ   Records of NYU Langone Health System
     Ɣ   Records of Ronald Reagan UCLA Medical Center
     Ɣ   Records of Beth Israel Medical Center
     Ɣ   Records of Bellevue Hospital Center
     Ɣ   FDNY Prehospital Care Report
     Ɣ   NYC 911 System Provider-Patient Call Report
     Ɣ   Records of St. Luke’s Roosevelt Hospital Center
     Ɣ   Records of Mandell Center for Comprehensive Multiple Sclerosis Care and
         Neuroscience Research
     Ɣ   Records of St. Francis Medical Group
     Ɣ   Records of Saint Francis Hospital and Medical Center
     Ɣ   Records of Neurology Consultants
     Ɣ   Records of Peter Wade, M.D.
     Ɣ   Records of Complete Neurological Care
     Ɣ   Records of Lenox Hill Radiology
     Ɣ   Records of Greater NY Neurology
     Ɣ   Narrative report from Dr. R.C. Krishna of Westchester Medical Care PC


                              CURRENT MEDICAL CARE

  1. Neuro-Otology

     Scott Grossman, M.D.
     NYU Langone Health
     222 East 41st Street
     New York, NY 10017
     212-263-7744
     Every 3 months

     Catherine Cho, M.D.
     NYU Langone Health
     222 East 41st Street
     New York, NY 10017

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    212-263-7744
    Every 3 weeks

  2. Neuro-Ophthalmology

    Cristiano Rivera, M.D.
    Weill Cornell Medicine
    Ophthalmology
    1305 York Avenue, 11th Floor
    New York, NY 10021
    646-962-2020
    1x annually

  3. Neurology

    Joseph Doria, M.D.
    Weill Cornell Medicine
    Epilepsy Center
    620 East 70th Street
    Starr Pavilion, 607
    New York, NY 10021
    212-746-5519
    Every 3 months for seizure care

  4. Neurology - Headache specialist

    Valentina Popova, M.D.
    NYU Langone Health
    222 East 41st Street
    New York, NY 10017
    212-263-7744
    Every 2.5 weeks for occipital nerve blocks

  5. Medications

      Ɣ   Lamictal - 250 mg ER - twice a day
      Ɣ   Topiramate - 75mg - twice a day
      Ɣ   Magnesium - 100mg - 1nce daily
      Ɣ   Indomethacin - 25 mg - 3 times a day
      Ɣ   Amitriptyline - 10mg as needed
      Ɣ   Baclofen - 10 mg as needed

  6. Equipment and Supplies

          Ɣ Trained epilepsy response dog
          Ɣ Heat pad
          Ɣ Eye ice packs


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                      HISTORY AND BACKGROUND INFORMATION

        The history of the medical care provided to Mary Tardif since the events of 3/21/2012 is
well documented in the supporting medical records. Since my focus is on function and not
etiology, I will only include a brief summary of past events and will defer to the reports in the file
for further information.

        Mary Tardif, present age 32.8, sustained injuries to her head on 3/21/2012. The file notes
positive loss of consciousness with nausea and vomiting. There were no lacerations on her scalp.
She was treated with diagnostic studies, vestibular, physical, cognitive, psychological, and
injection therapy. She continues to complain of debilitating headaches with dizziness, poor
balance, sleepiness, fatigue, depression, anxiety, nausea, and vomiting. She has a trained epilepsy
response dog that also helps her with balance since 2016. She reports that her symptoms are
exacerbated by loud noises, bright lights, stress, and wet or humid conditions. She reports a decline
in cognitive functioning which leaves her frustrated and irritable. She reports having good days
and bad days.

        Ms. Tardif lives alone in a single-level one-bedroom and one-bathroom apartment located
at 67 Macombs Place, 5F, New York, NY 10039. She reports that she will be moving to 206 West
148th Street, 4H, 10039. There is an elevator in her current building, but she reports that it is
frequently out of service. The unit is on the 5th floor, and she reports difficulty with stairs. There
are three stairs to enter the building. There are no grab bars in the bathroom and shower. She
reports that the dog stays with her when she showers and is trained to help in case of an emergency.
She reports that the building she plans to move to has a ramp and multiple elevators.

        Ms. Tardif reports that she has a group of friends that will help with certain activities or
when she experiences an increase in symptoms. Her friend Michael Castinelli is on the local fire
department and will assist with walking the dog or grocery shopping. She reported she has a
driver’s license but does not drive. She relies on public transportation, and reports carrying a bag
with her in case she vomits while away from her home. She worked as a sign language interpreter
for theater. She reports difficulty signing depending on the speed. Fast and exaggerated arm
movements by her or anyone else triggers headaches and dizziness. She reports that she manages
her activities of daily living and household chores as best as she can within her limitations.

        Prior to the event of 3/21/2012, Ms. Tardif was independent for all activities of daily living.
She enjoyed working on an ambulance corps and was involved in theater productions. She now
lives a mostly sedentary lifestyle and sleeps for many hours during the day.


                                CURRENT FUNCTIONAL STATUS
                                   (As reported by Ms. Tardif)

 1. Ms. Tardif stated her height is 5’2”, and her weight to be approximately 180 pounds. She
    reports that she has lost weight since the 2012 event. She is right-hand dominant.

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2. Ms. Tardif reports her primary complaints to include constant headaches, dizziness with
   nausea, sleepiness, fatigue, depression, anxiety, and flashbacks.

3. She reports poor balance most of the time. Her support dog assists with balance

4. Ms. Tardif’s pain and physical limitations were reported as follows:


     Headaches:

          a. She reports experiencing frequent headaches which start at the bilateral eye orbits
             and travel to the temples and vary in intensity.
          b. The constant pain was described as a “low dull” pain.
          c. She will experience bad headaches 1-2 times per week.
          d. She reports that it is difficult to look down. Looking down will cause a bad
             headache requiring her to lay down.
          e. She reports that the headache pain can range from a 3-9 out of 10, and she will
             vomit when the pain reaches an 8-9 out of 10.
          f. She uses medication, ice, heat and sleeping in a dark room to manage her
             symptoms.
          g. She reports the occipital injections help and minimize vomiting
          h. She reports triggers for her headaches to include:

                     • Dizziness
                     • Loud sounds
                     • Low or loud base noise
                     • Bright lights.
                     • Fast or exaggerated arm movements by her or anyone else will trigger
                       dizziness and headaches.

     Dizziness:

         a. She reports fast and exaggerated arm movements by her or anyone else will trigger
            dizziness.
         b. Traveling at a speed of 40 miles per hour or above will trigger dizziness. She suffers
            from palinopsia and describes feeling dizzy and seeing things in a “freeze-frame.”
         c. Checkered patterns on walls or floors will trigger dizziness.
         d. She is limited to up to 30 minutes in front of a computer screen. She can only watch
            gentle, calm movies and TV shows.
         e. She is performing the home exercises prescribed by the vestibular therapist.
         f. She reports that playing brain-strengthening games on a computer will make her
            dizzy.

    Cognitive Function

             a. She reports a decline in cognitive functioning.
             b. She reports that her short-term memory is worse than her long-term memory.
             c. She stated she has word retrieval difficulties, and it makes her feel stupid.

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           d. She gets frustrated from these issues and becomes irritable, cranky, and angry.
           e. She reports frequently misplacing her phone, keys, and wallet.
           f. She has purchased a tracker for these items.
           g. She notices that she has become more forgetful. She stated she will walk into a
           room and forget why she was there.
           h. She is able to manage her finances and healthcare appointments and is aware of
           her limitations. She follows her doctors’ orders to the best of her ability.
           i. She reports that low and loud bass noises make her disoriented

    Sleep and Fatigue

        a. She reports an increase in sleepiness and fatigue.
        b. She stated she sleeps 8-9 hours a night and will take additional naps during the
           day. She goes to sleep around 11 pm and wakes up at 8 or 9 am. She will nap at
           1 or 2 pm and will sleep for an additional 1-3 hours.
        c. She reports that often she cannot stay awake and will occasionally only wake up
           to care for the dog.
        d. She reports that wet/humid weather will cause her to feel increasingly sleepy and
           tired.
        e. She reports that lack of sleep or an increase in stress will trigger seizures.

        f. She reports that her eyes hurt when she becomes stressed. She needs to frequently
           rest her eyes during the day.

    Functionality:

       •   She reports being able to sit, stand, and walk for an hour comfortably. She has her
           service dog with her at all times.
       •   She reports being able to bend/twist at the waist and kneel down. She reports being
           able to stoop and squat but must rise slowly or she will become lightheaded.
       •   She reports being able to climb stairs but experiencing difficulty descending stairs.
           She must move slowly one step at a time, keep her eyes forward, hold onto railings,
           and use her dog for assistance with balance.
       •   She reports that her balance is poor most of the time. She relies on her service dog
           to keep her balanced while she is walking.
       •   She reports that she is able to do light cleaning of her home but she must spread out
           the tasks. She can run simple errands if she feels well. Her local pharmacy makes
           deliveries and she has friends who help her. She can order items online.
       •   She reports that she is able to cook for herself, manage her hygiene, and dress her
           upper and lower body without assistance. She reports that she will not shower if
           she does not feel well.
       •   She reports that her epilepsy response dog, Daisy, supports her for things she
           struggles with. The dog will alert her when a seizure is approaching within 10
           minutes. The dog will lay with her during the seizure and will try to wake her up.
           The dog will turn off running water, open and close the refrigerator, pick up
           dropped items, and will retrieve medication. She is with the dog 24 hours a day
           except during medical procedures. The dog was obtained through a program that
           is responsible for registration and certification. The dog must be walked 2-3 times

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               per day, and she occasionally hires a professional dog walker or relies upon her
               friends.
           •   Ms. Tardif relies upon her friends to help her with activities she is unable to perform
               independently. She reported her friends assist with:
                        • Shopping
                        • Errands
                        • Laundry
                        • Dog walking if she is unable
                        • Bring her food
                        • Heavy lifting and carrying


Life expectancy is based on the New York Pattern Jury Instructions, Vol. 1B, 3rd Edition, 2018;
Life table for females: United States, 1997; Present age 32.8: 48.6 additional years to age 81.2.

Costs are based on private pay mid-range pricing quoted by The Physicians Fee Reference 2021
with geographic multiplier 1.330, Fair Health Benchmark Geo Zip 100, Official Disability
Guidelines, and internet research per life care planning usual practice.



                         LIFE CARE PLAN RECOMMENDATIONS

        The attached life care plan appendices incorporate the future care recommendations from
neurologist, Dr. R.C. Krishna who reviewed her diagnostic tests, medical records and performed
an examination in July of 2021. Ms. Tardif’s present treating specialists were contacted for their
input into the life care plan but have not responded to date. We will reserve the right to amend
this report upon receipt of additional information. Ms. Tardif will require ongoing medical care,
diagnostic tests, cognitive therapy, psychological counseling, equipment, medication, injections,
and assistance with homemaking tasks through life .

         The narrative report of Dr. Krishna notes “The prognosis is guarded. The injuries described
herein are serious and permanent in nature and resultant in permanent partial residual disabilities,
pain, and limitations with significant restriction of motion. There is no evidence of prior similar
accidents or injuries. The patient is expected to have permanent intermittent recurring episodes of
pain and discomfort in the future that will significantly restrict the patient's working and social
activities. The patient will require a home health aide in the future.”

Routine Medical Care - Table 1
   භ Dr. Krishna recommended Ms. Tardif continue to see neurologists, headache specialists,
       neuro-ophthalmologist, and neuro-otologists through life.
   භ The costs provided are usual and customary.




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Diagnostic Testing – Table 2
    • Ms. Tardif will require an MRI of the brain annually through life.
    • Dr. Krishna noted the MRI will assess progressive white matter changes that may
       constitute neuro-degenerative disease.
    • The costs provided are usual and customary.

Therapeutic Modalities – Table 3
    • Dr. Krishna recommended Ms. Tardif receive cognitive therapy once a week for the next
       3-6 months. She will be re-evaluated afterward for further recommendations.
    • Additional cognitive therapy or treatment can increase the cost of her care.
    • Dr. Krishna recommended Ms. Tardif continue psychological counseling through life.

Equipment and Aids – Table 4
    • Ms. Tardif reports dizziness and poor balance. At the time of discharge from vestibular
       therapy, the records from Nicolina Keneipp, PT noted Ms. Tardif did not meet the goals
       and was at risk to fall.
    • A bathmat, shower seat and wall grab bars are recommended for safety during showers.
       The bathmat and shower seat are replaced periodically as they are subject to wear and
       tear. The wall grab bars will be needed in each residence she lives in and can be installed
       by the building maintenance person.
    • Ms. Tardif uses eye ice packs and heat pads to manage her symptoms. These items are
       also replaced periodically as they are subject to wear and tear.

Pharmacology – Table 5
   • Ms. Tardif uses prescription medication and supplements to manage her symptoms. Dr.
      Krishna recommended these medications be continued through life.
   • As needed medications are recommended and used according to symptoms which are
      subject to change. The average of the as needed medications is used for cost projecting
      purposes.

Home Care/Home Services – Table 6
  • Ms. Tardif can manage her home making tasks as best as possible. She reported she breaks
     up the chores and does them slowly. She relies upon friends and neighbors to help her
     when she is unable to manage on her own.
  • To replace the services of her friends, a home maker is the correct level of care. Three
     hours each week to be used as needed is recommended for assistance with heavy household
     tasks and assistance as needed.

Future Aggressive Care – Table 7
   • Ms. Tardif receives occipital nerve block injections every 2.5 to 3 weeks.
   • She reports less vomiting with this treatment.
   • Dr. Krishna recommended these injections continue through life.
   • The costs provided are usual and customary.




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                              SUMMARY AND CONCLUSIONS

         Mary Tardif, present age 32.8 sustained a traumatic brain injury. She continues to
experience pain and symptoms that impact her functionality. Ms. Tardif will require ongoing care
in the form of medical, therapeutic, additional diagnostic testing, interventional pain management,
medications, and equipment through life. The attached tables will detail the recommendations and
yearly costs associated with caring for Ms. Tardif.

       This life care plan does not consider the costs for potential medical complications, as the
frequency and severity cannot be predicted. The expenditures noted in this report will be presented
in 2021 dollars.

       The opinions expressed in this report are to within a reasonable degree of Life Care
Planning probability. Should further information become available, I reserve the right to amend
the opinions herein. After you have had a chance to review the narrative report and the attached
Life Care Plan, please do not hesitate to contact me should you have further questions.



Submitted By:



Linda Lajterman, RN, CCM, CDMS, ABDA, CLCP
Senior Disability Analyst
ADM Consulting Group
Attachment: Life Care Plan for Mary Tardif




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